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                                       DISTRICT ATTORNEY
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CYRUS R. VANCE, JR.
   DISTRICT ATTORNEY




                                                            November 15, 2019
   BY ECF
   Honorable Alison J. Nathan
   United States District Judge
   Southern District of New York
   40 Foley Square
   New York, New York 10007

   Honorable Kevin Nathaniel Fox
   United States Magistrate Judge
   Southern District of New York
   40 Foley Square
   New York, New York 10007

              Re: Heleen Mees v. City of New York, et al., 19 Civ. 7346 (AJN)(KNF)

   Dear Judge Nathan & Judge Fox:

          I am an Assistant District Attorney at the New York County District Attorney’s
   Office and counsel for the DA defendants in the above-captioned matter. I write on
   behalf of all parties—plaintiff pro se Heleen Mees, the DA defendants, and the co-
   defendant City of New York—to respectfully ask that the Court narrow the scope of
   the confidentiality order that was entered on September 5, 2019 to cover only the
   “photographic evidentiary material” that was the subject of plaintiff’s letter requesting
   confidential treatment of said photos. ECF 13 [Pl. Ltr.]; ECF 15 [Unsealing and
   confidentiality order].

           This case arises from plaintiff’s prosecution on harassment charges based on
   allegations lodged by her former boyfriend, Willem Buiter, that plaintiff had sent him
   nude photos. ECF 1 [Complaint] at ¶¶13-14, 25. On August 26, 2019, the DA’s Office
   wrote to Judge Nathan requesting additional time to respond to the complaint and
   further requesting that Judge Nathan endorse an enclosed unsealing order that would
   permit the DA’s Office to access the police, prosecution, Criminal Court, and
   Department of Corrections files. ECF 8. On September 5, 2019, a letter from plaintiff
   was posted to ECF wherein plaintiff stated that she had no objection to the unsealing
   order but requested that the photos be deemed confidential. ECF 13. The DA’s Office
   and the City agree with plaintiff that the photos should not be publicized.
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        Also on September 5, 2019, Judge Fox endorsed the unsealing order submitted
by the DA’s Office with modifications. Among the modifications, Judge Fox ordered
that records obtained via the unsealing order “shall be deemed confidential and the
parties shall safeguard them from public dissemination.” ECF 15 at 2. The order thus
appears to render confidential the police, prosecution, Criminal Court, and Department
of Corrections files in their entirety.

       Yesterday, defendants filed a joint motion to dismiss. As supporting exhibits,
defendants relied on documents that appear in the prosecution file and were filed in
Criminal Court. 1 Defendants served the motion papers on plaintiff by mail, see ECF
18, but have not filed the papers on ECF due to the confidentiality order. Defendants
have also provided plaintiff with copies of the motion papers by email, and the parties
have conferred over email about the scope of the confidentiality order.

       Plaintiff has authorized me to inform the Court that she did not intend to
request that records other than the photos be kept on a confidential basis. Defendants
agree that only the photos themselves should be kept from public dissemination.
Accordingly, the parties jointly request that the September 5, 2019 order be modified
to deem confidential only “photographic evidentiary material” that may appear in the
records that are unsealed by virtue of the order.

       If the Court is inclined to grant this request, defendants will proceed to file their
motion papers on ECF. Otherwise, defendants respectfully request permission to file
the supporting exhibits under seal.

         The parties thank the Court for its consideration of this letter.


                                                      Respectfully submitted,

                                                      Elizabeth N. Krasnow/s
                                                      Elizabeth N. Krasnow
                                                      Assistant District Attorney


To:      Heleen Mees (By E-Mail and Mail)
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         Brooklyn, New York 11201
         heleen@heleenmees.com




1   The exhibits do not include the photos.
                                              2
